                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MISSOURI


GUADALUPE ADAMS,                         :
                                         :
            Plaintiff,                   :
                                         :
v.                                       :              Case No. 6:15-cv-3294
                                         :
CV&P, LLC.                               :
            Defendant                    :
_______________________________________/ :


                              JOINT STIPULATION OF
                    FULL AND FINAL DISMISSAL WITH PREJUDICE

Plaintiff, Guadalupe Adams (“Plaintiff”) and Defendant, CV&P, LLC. (“Defendant”), by and

through their undersigned counsel, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii),

stipulate to the voluntary dismissal with prejudice of the above captioned matter.

1. All of Plaintiff’s claims in this Lawsuit are hereby dismissed with prejudice.

2. Each party shall bear its own attorneys’ fees, expert fees, litigation expenses and costs

incurred in litigating these claims except as otherwise agreed to in writing among the

parties.

Dated: June 14, 2016

By: _/s/ Pete M. Monismith___                      By: _/s/ Bryan O. Wade
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